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                     Exhibit 15
Saudi Committee in Support of the Intifada AI Puds
    Payments to Individuals by Payment Amount
          via Arab Bank (92.5% of Payments in Cash)
                                                      Case 1:18-cv-02192-HG-PK
                                                                 Case 16-2119, Document
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